Case 20-12224-amc          Doc 61-1      Filed 04/13/22 Entered 04/13/22 14:30:00                Desc NOD
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                                       KML LAW GROUP, P.C.
                                 THE BNY INDEPENDENCE CENTER
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                                      PHILADELPHIA, PA 19106
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                                              March 15, 2022

Brad J. Sadek Esq.
1315 Walnut Street
Suite 502
Philadelphia, PA 19107

RE:     NOTICE OF DEFAULT UNDER COURT APPROVED STIPULATION
        MIDFIRST BANK vs. Jennifer A. Lis
        Case No. 20-12224 AMC
        Last 4 Digits of Loan No. 8279

Dear Sir or Madam:

      Please be advised that your client is in default under the terms of the Stipulation that was approved by
the Bankruptcy Court. Under the terms of the Stipulation, your client must cure the default within fifteen (15)
days of this Notice. The amount in default is itemized as follows and set forth in the attached payment
history;
   Regular mortgage payments for the months of February 2022 and March 2022, in the amount of
         $913.01 per month;
   Less Debtor Suspense credit in the amount of $307.26;

               The total due is $1,518.76 and must be received on or before March 30, 2022

     The monthly payment for April 2022, is/will be due on the 1st day of the month and is not included in
      the figure listed above.

NOTICE TO BORROWER: Please call your attorney with any questions. We are not permitted under the
Rules of Professional Responsibility to speak with you directly.

     If you have proof that payments were made, fax that proof to our office at 215-825-6406. If payment is
not made, we will file a Certification with the Court and request relief from the Bankruptcy stay.

                                                 KML Law Group, P.C.

                                                 /s/ Rebecca A. Solarz, Esquire
                                                 Rebecca A. Solarz Esquire
                                                 KML Law Group P.C.
                                                 BNY Mellon Independence Center
                                                 701 Market Street, Suite 5000
                                                 Philadelphia, PA 19106
                                                 215-825-6327


cc:     Jennifer A. Lis
